    Case 9:12-cv-80447-KLR Document 1-2 Entered on FLSD Docket 04/26/2012 Page 1 of 2

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                 Southern District
                                                 __________        of Florida
                                                              District of __________


  SUZETTE GUILLAUME, individually and on behalf
                                                                  )
                                                                  )
                             Plaintiff
                                                                  )
                                v.                                )       Civil Action No.
        SELECT MEDICAL CORPORATION,                               )
    SELECT EMPLOYMENT SERVICES, INC., and                         )
                            Defendant
                                                                  )


                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SELECT MEDICAL CORPORATION
                                         By serving Registered Agent, C T CORPORATION SYSTEM
                                         1200 SOUTH PINE ISLAND ROAD
                                         PLANTATION FL 33324




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Gregg I. Shavitz, Esq.
                                         Keith M. Stern, Esq.
                                         SHAVITZ LAW GROUP, P.A.
                                         1515 South Federal Hwy, Suite 404
                                         Boca Raton, Florida 33432


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
    Case 9:12-cv-80447-KLR Document 1-2 Entered on FLSD Docket 04/26/2012 Page 2 of 2

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                 Southern District
                                                 __________        of Florida
                                                             District  of __________


  SUZETTE GUILLAUME, individually and on behalf
                                                                  )
                                                                  )
                             Plaintiff
                                                                  )
                                v.                                )       Civil Action No.
        SELECT MEDICAL CORPORATION,                               )
    SELECT EMPLOYMENT SERVICES, INC., and                         )
                            Defendant
                                                                  )


                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SELECT EMPLOYMENT SERVICES, INC.
                                         By serving Registered Agent, THE CORPORATION TRUST COMPANY
                                         CORPORATION TRUST CENTER 1209 ORANGE STREET
                                         WILMINGTON, DE 19801




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Gregg I. Shavitz, Esq.
                                         Keith M. Stern, Esq.
                                         SHAVITZ LAW GROUP, P.A.
                                         1515 South Federal Hwy, Suite 404
                                         Boca Raton, Florida 33432


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
